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     STATE FARM INSURANCE COMPANY
8
                                     UNITED STATES DISTRICT COURT
9
                                           DISTRICT OF NEVADA
10
     DAVID LEWENZ, an individual;                           Case No.: 2:20-cv-01994-KJD-EJY
11
                             Plaintiff,
12
     vs.
13                                                          STIPULATION AND ORDER TO
     STATE FARM INSURANCE COMPANY, a foreign                EXTEND DEADLINE TO FILE
14   corporation; DOES 1 through 10; ROE ENTITIES           DISPOSITIVE MOTIONS (FIRST
     11 through 20; and ABC LIMITED LIABILITY               REQUEST)
15   COMPANIES 21 through 30,

16                           Defendants.

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18          The Parties, by and through their respective attorneys of record, pursuant to Local Rules

19   IA 6-1 and 26-3, file this stipulation and order to extend the deadline by which to file dispositive

20   motions. The parties seek to extend this deadline by 33 days. This is the first stipulation for

21   extension of time to file dispositive motions.

22          The parties are not seeking to reopen any discovery deadline, but only wish to extend the

23   deadline to file dispositive motions. The current deadline to file dispositive motions is November

24   25, 2021. Per Local Rule 26-3, a request made within 21 days of the subject deadline must be

25   supported by a showing of good cause.

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1            The parties are requesting this extension on the basis that they are working together to

2    determine whether the case can be entered into binding arbitration for the contractual claims,

3    with the extracontractual claims to be stayed while that binding arbitration is completed. It is

4    possible that additional litigation following the binding arbitration would be unnecessary. Further,

5    the only dispositive motions that would be appropriate in this case would be to address the

6    extracontractual claims. As a result, there is good cause to extend the deadline to file the

7    dispositive motion deadline, as it would potentially save both parties time and resources that

8    would be needed to file dispositive motions that would ultimately be unnecessary, and Court

9    resources in reviewing and potentially deciding on motions that may ultimately be unnecessary.

10   The parties did not intend to delay the Court’s calendar or docket management, but are working

11   diligently to come up with the most efficient manner of litigating the claims involved in the case,

12   without wasting the Court’s or the parties time or resources if possible.

13           The parties propose the following dates for Dispositive Motions and Pre-Trial Order

14   should the request be granted:

15           A. Dispositive Motions. Tuesday, December 28, 2021.

16           B. Pre-trial Order. The joint pre-trial order shall be filed no later than 30 days after the

17   date set for filing dispositive motions. In this action, the joint pre-trial order shall be filed on or

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     Case 2:20-cv-01994-KJD-EJY Document 28 Filed 11/29/21 Page 3 of 3



1                                                                               Lewenz v State Farm
                                                                   Case No.: 2:20-cv-01994-KJD-EJY
2                                                                           Stip and Order to Extend

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     before Thursday, January 27, 2022. In the event that dispositive motions are filed, the joint pre-
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     trial order shall be filed no later than 30 days after the order(s) on the dispositive motions are
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     entered.
8
     DATED:        11/24/21____ ____                DATED:         11/24/21               ______
9
     NETTLES | MORRIS                               DENNETT WINSPEAR, LLP
10

11   By /s/ Alexandra B. McCleod                    By /s/ Gina Gilbert Winspear
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16   Attorneys for Plaintiff,
     David Lewenz
17

18
                                                 ORDER
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            IT IS SO ORDERED.
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            DATED: November 29, 2021
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                                          UNITED STATES MAGISTRATE JUDGE
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